Case 1:17-cv-02289-RMB-KMW Document 28 Filed 04/08/19 Page 1 of 1 PageID: 61


                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                      CAMDEN DWISION


 DENNIS MAURER, Individually,

                Plaintiff,

 vs.                                                  Case No. 1: 17-cv-02289-RMB-KMW

 PEGASUS REALTY GROUP, LLC, a New
 Jersey Limited Liability Company,

                Defendant.


                             ORDER OF DISMISSAL WITH PREJUDICE

        THIS MATTER is before the Court upon the Stipulation for Dismissal With Prejudice.

 The Court having carefully reviewed said Stipulation and after due consideration, it is

        ORDERED AND ADJUDGED as follows:

         1.     The Stipulation For Dismissal With Prejudice filed herein by the Plaintiffs, and

 the Defendant, be and the same is hereby approved;

         2.     The above-styted cause be and the same is hereby DISMISSED with prejudice;

         3.     The Court retains jurisdiction of the above-styled cause solely for the purpose of

 enforcing the Settlement Agreement; and

         4.      To the extent not otherwise disposed of herein, all pending Motions are hereby

 DENIED as moot.

         DONE AND ORDERED in Chambers at              _———_,                         this   ô7   day

 of___________ 2019.


                                               UNITED STATES DISTRICT JUDGE

  Copies furnished to:
  Attorneys of record
